Case 1:17-CV-OOOOS-|\/|PB-SEB Document 32 Filed 07/17/17 Page 1 of 3 Page|D #: 97

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA

SECURITY WATCH ALERT
TEAM, LLC,

Plaintiff,

V.

STATE OF INDIANA,
CURTIS T. HILL, JR.,

in his official capacity as Indiana
Attorney General,

OFFICE OF THE INDIANA
A"[TORNEY GENERAL,
DEREK R. PETERSON,

ED HUTCHISON,

Defendants.

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MOTION TO DISMISS

Defendants, the State of Indiana, Curtis T. Hill, Jr., and the Office of the Indiana Attorney

General, by counsel, pursuant to Federal Rules of Civil Procedure lZ(b)(l) and 12(b)(6), move the

Court to dismiss this lawsuit against them. In support thereof, these defendants state the following:

l. Defendants are not “persons” subject to suit pursuant to 42 U.S.C. § 1983, and Plaintiff

has failed to state a claim against them in their individual capacities

2. Defendants are entitled to Eleventh Amendment immunity to the claims for damages

brought pursuant to 42 U.S.C. § 1983.

3. Defendants are entitled to absolute immunity as their actions were taken pursuant to

their scope of authority.

4. Plaintiff lacks Standing to seek equitable relief from Defendants.

Case 1:17-cv-OOOOS-|\/|PB-SEB Document 32 Filed 07/17/17 Page 2 of 3 Page|D #: 98

5. Plaintift’s state law claims are barred by the Indiana Tort Claims Act and if not barred,
Defendants are entitled to have state tort claims heard in an Indiana State Court.

6. Defendants have simultaneously filed and incorporate herein a brief in support of their

motion to dismiss.

WHEREFORE, the State of Indiana, Curtis T. Hill, Jr., and the Office of the Indiana
Attomey General respectfully request that the Court grant their motion to dismiss and grant all
other just and proper relief.

Respectfully Submitted,
CURTIS T. HILL, JR.,

Attomey General of Indiana
Attomey No.: 13999-20

By: s/ Winston Lin
Winston Lin
Deputy Attomey General
Attomey No. 29997-53

Case 1:17-CV-OOOO3-I\/|PB-SEB Document 32 Filed 07/17/17 Page 3 of 3 Page|D #: 99

CERTIFICATE OF SERVICE
I certify that on July 17, 2017, the foregoing was filed with the Clerk of the Court using
the CM/ECF system. Service of this filing will be made on all ECF-registered counsel by operation
of the Court’s electronic filing system.

Thomas B. O’Farrell
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s/ Winston Lin
Winston Lin
Deputy Attomey General

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